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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


U.S. CONFERENCE OF CATHOLIC
BISHOPS,

                Plaintiff,
                                                         Civil Action No. 25-0465 (TNM)
        v.

DEPARTMENT OF STATE, et al.

                Defendants.


                       NOTICE OF CHANGE OF MATERIAL FACTS

        Defendants, by and through the undersigned counsel, respectfully file this notice of change

of material facts.

        On February 26, 2025, the State Department notified Plaintiff that its cooperative

agreements were “immediately terminated as of February 27, 2025, because the ‘award no longer

effectuates agency priorities.’” Letters of Feb. 26, 2025 (attached hereto as Ex. A). The State

Department’s termination of the agreements underlying this dispute now plainly put this matter

into the realm of a contract dispute seeking more than $10,000, which falls within the exclusive

jurisdiction of the Court of Federal Claims under the Tucker Act.

        That is, the termination of the agreements leaves open only a question of unpaid money

under the cooperative agreements, and, to the extent Plaintiff disputes any reimbursement, the

dispute needs to brought in the Court of Federal Claims. Even could the Court have entertained

injunctive relief under the Administrative Procedure Act to compel the State Department to take

some action under the agreements during their lifetimes, any such jurisdiction is now clearly absent

as there is no action the Court could compel—the parties’ agreements are no longer in force.

Relatedly, Plaintiff can claim no irreparable harm absent an injunction as the only relief now
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available to Plaintiff is money damages should the parties be unable to resolve any payment

disputes through any available administrative channels.

Dated: February 27, 2025                      Respectfully submitted,
        Washington, DC
                                              EDWARD R. MARTIN, JR., D.C. Bar #481866
                                              United States Attorney

                                              BRIAN P. HUDAK
                                              Chief, Civil Division


                                              By:           /s/ Joseph F. Carilli, Jr.
                                                    JOSEPH F. CARILLI, JR.
                                                    Assistant United States Attorney
                                                    601 D Street, NW
                                                    Washington, DC 20530
                                                    (202) 252-2525

                                              Attorneys for the United States of America




                                              -2-
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                            Exhibit A
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Department of State

Termination Notification


NOTICE OF TERMINATION

February 26, 2025

United States Conference of Catholic Bishops
3211 Fourth St NE
Washington, DC 20017-1104

REF: SPRMCO24CA0336; FY25 Enduring Welcome Reception and Placement

Dear Anthony Granado:

The U.S. Department of State hereby notifies the recipient that this award is
immediately terminated as of February 27, 2025. This award no longer effectuates
agency priorities and is terminated in accordance with the U.S. Department of State
Standard Terms and Conditions, 2 CFR 200.340, and/or Award Provisions as
applicable.

Effective immediately upon receipt of this Notice of Termination, the Recipient must
stop all work on the program and not incur any new costs after the effective date cited
above. Payment requests for legitimate costs incurred prior to this notification are
allowable. If your award is already in suspended status, payment requests for legitimate
costs incurred prior to the effective date of the Notice of Suspension are allowable. The
Recipient must cancel as many outstanding obligations as possible.

Final reports will be due in accordance with the Award Provisions.


                                                    Sincerely,
                                                                                    Digitally signed
                                                    Joseph Kouba      JOSEPH        by JOSEPH G
                                                                                    KOUBA
                                                    Comptroller       G KOUBA       Date: 2025.02.26
                                                                                    20:16:55 -05'00'
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Department of State

Termination Notification


NOTICE OF TERMINATION

February 26, 2025

United States Conference of Catholic Bishops
3211 Fourth St NE
Washington, DC 20017-1104

REF: SPRMCO24CA0342; FY24 MRA Reception and Placement

Dear Anthony Granado:

The U.S. Department of State hereby notifies the recipient that this award is
immediately terminated as of February 27, 2025. This award no longer effectuates
agency priorities and is terminated in accordance with the U.S. Department of State
Standard Terms and Conditions, 2 CFR 200.340, and/or Award Provisions as
applicable.

Effective immediately upon receipt of this Notice of Termination, the Recipient must
stop all work on the program and not incur any new costs after the effective date cited
above. The Recipient must cancel as many outstanding obligations as possible.

Final reports will be due in accordance with the Award Provisions.




                                                    Sincerely,
                                                                      JOSEPH Digitally signed
                                                                             by JOSEPH G
                                                    Joseph Kouba      G      KOUBA
                                                                             Date: 2025.02.26
                                                    Comptroller       KOUBA 20:22:16 -05'00'
